         Case 1:21-cr-00623-CRC Document 100 Filed 02/16/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     *
                                             *
       V.                                    *              Case No. 1:21-CR-623-2 (CRC)
                                             *
KIRSTYN NIEMELA                              *
                                             *


                         MOTION TO WITHDRAW AS COUNSEL


       NOW COMES Kirstyn Niemela’s attorney, Paul J. Garrity, and hereby moves this Court

to allow him to withdraw from further representation of Ms. Niemela in the above-entitled matter.

       In support of this Motion, Attorney Garrity states as follows:

       1.      Attorney Garrity was appointed to represent Ms. Niemela in the above-referenced

       case;

       2.      However, Ms. Niemela has retained Attorney John Pierce to represent her in this

       case. Attorney Pierce filed his appearance on February 14, 2023.

       WHEREFORE, Attorney Garrity respectfully requests that this Court grant this Motion

and allow him to withdraw from further representation of Kirstyn Niemela regarding the above-

entitled matter.



                                                    Respectfully submitted,
                                                    Paul Garrity,
                                                    Attorney for Kirstyn Niemela,


Date: February 16, 2023                             /s/     Paul J. Garrity
                                                    Paul J. Garrity, Bar No. 905
                                                    14 Londonderry Road
        Case 1:21-cr-00623-CRC Document 100 Filed 02/16/23 Page 2 of 2




                                                    Londonderry, NH 03053
                                                    603-434-4106
                                                    garritylaw@myfairpoint.net



                               CERTIFICATE OF SERVICE

       I, Paul J. Garrity, hereby certify that on this 16th day of February, 2023, a copy of this
within Motion to Withdraw has been e-filed for all parties involved.


Date: February 16, 2023                             /s/     Paul J Garrity
                                                    Paul J. Garrity
